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 3
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 4
     ATTORNEY FOR DEFENDANT SOFIA MACIEL PASCACIO
 5
 6
     UNITED STATES OF AMERICA                     )       CASE NO: 1:05-CR-00479 OWW
 7                        Plaintiff,              )
                                                  )       STIPULATION TO CONTINUE
 8   vs.                                          )       SENTENCE
                                                  )
 9   SOFIA MACIEL PASCACIO                        )
                          Defendant.              )
10                                                )
11
            The defendant, SOFIA MACIEL PASCACIO by and through her counsel Jim T. Elia,
12
     hereby requests the sentencing date in this case be continued from April 7, 2008 at 1:30 p.m. until
13
     May 5, 2008 at 1:30 p.m.
14
            The Assistant United States Attorney Kimberly A. Sanchez has agreed to the continuance,
15
     as well as the new date.
16
            The reason for the continuance is to allow the defense to obtain a Psychologist to evaluate
17
     the defendant prior to sentencing.
18
     DATED: April 3, 2008                                 Respectfully submitted,
19
20                                                        /s/ Jim T. Elia
                                                          JIM T. ELIA, ATTORNEY
21                                                        FOR DEFENDANT
                                                          SOFIA MACIEL PASCACIO
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       Case 1:05-cr-00479-LJO Document 260 Filed 04/04/08 Page 2 of 2


 1                  IN THE UNITED STATED DISTRICT COURT FOR THE
 2                          EASTERN DISTRICT OF CALIFORNIA
 3
 4   UNITED STATES OF AMERICA                )         CASE NO: 1:05-CR-00479 OWW
                          Plaintiff,         )
 5                                           )         ORDER
     vs.                                     )
 6                                           )
     SOFIA MACIEL PASCACIO                   )
 7                        Defendant.         )
                                             )
 8
 9
           GOOD CAUSE APPEARING: It is hereby ordered that sentencing date for SOFIA
10
     MACIEL PASCACIO be continued from April 7, 2008 at 1:30 p.m. to May 5, 2008 at 1:30 p.m.
11
12
13   IT IS SO ORDERED.
14   Dated: April 4, 2008                        /s/ Oliver W. Wanger
     emm0d6                                 UNITED STATES DISTRICT JUDGE
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